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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


KEYCORP,                                              )   CIVIL ACTION NO. 3:16-CV-01948-D
                                                      )
                    Plaintiff,                        )   JUDGE FITZWATER
                                                      )
                       vs.                            )   MAGISTRATE HORAN
                                                      )
ALLISON HOLLAND, et al.,                              )
                                                      )
                                                      )
                  Defendants.                         )


 PLAINTIFF’S MOTION TO COMPEL DEFENDANT HOLLAND’S RESPONSES TO
                  PLAINTIFF’S DISCOVERY REQUESTS

       Pursuant to Fed. R. Civ. P. 37, Plaintiff KeyCorp (“Key”), moves the Court for an Order

compelling Defendant Allison Holland (“Holland”) to provide complete responses to Key’s First

Set of Requests for Admission and Interrogatories and First Set of Requests for Production of

Documents and to produce responsive documents within seven days of the filing of this Motion

in furtherance of the expedited discovery already ordered by the Court.

       As set forth more fully in the attached Memorandum in Support of this Motion, Holland

failed to produce any documents in response to Key’s Requests for Production and raised

unsupported objections to many of Key’s Requests for Admission. Key’s attempts to resolve the

dispute with Holland were unsuccessful. Accordingly, Key requests that the Court compel

Holland to respond immediately to all discovery requests and produce all documents responsive

thereto, and award Key all expenses, including attorneys’ fees and costs incurred in connection

with this Motion and the related discovery dispute.
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                                       Respectfully submitted,


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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


KEYCORP,                                              )   CIVIL ACTION NO. 3:16-CV-01948-D
                                                      )
                     Plaintiff,                       )   JUDGE FITZWATER
                                                      )
                        vs.                           )   MAGISTRATE HORAN
                                                      )
ALLISON HOLLAND, et al.,                              )
                                                      )
                                                      )
                   Defendants.                        )


    MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
DEFENDANT HOLLAND’S RESPONSES TO PLAINTIFF’S DISCOVERY REQUESTS

I.       INTRODUCTION

         Plaintiff KeyCorp (“Key”) brings this Motion to Compel (“Motion”) due to Defendant

Allison Holland’s (“Holland”) absolute failure to respond to Key’s Requests for Production of

Documents and her evasive responses to several Requests for Admissions. Holland wholly failed

to produce any documents responsive to Key’s Document Requests and has raised unsupportable

objections to Key’s Requests for Admissions. When Key tried to resolve the discovery dispute,

Holland insisted without budging that the responses were fine. As a result, Key is forced to file

this Motion to resolve Holland’s discovery deficiencies. Key respectfully requests that this Court

compel Holland to respond immediately to all outstanding discovery and to award Key all

expenses, including attorneys’ fees and costs, incurred in connection with the filing of this

Motion and the related discovery dispute.

II.      FACTS

         On July 29, 2016, Key propounded the following discovery requests on Holland: 1)

Plaintiff’s First Set of Requests for Admission and Interrogatories and 2) Plaintiff’s First Set of

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Requests for Production of Documents. On September 15, 2016, the Court granted Plaintiff’s

Motion for Expedited Discovery and Rule 34 examination of computer systems as to Holland.

On September 30, 2016, Holland responded to both sets of discovery. A copy of Holland’s

responses is attached as Exhibit 1. Despite the fact that in several places Holland says, “See also

Holland’s Document Production,” Holland produced not a single document to Key. Further,

Holland failed to explain or support many of her objections to Key’s Requests for Admissions.

       On October 4, 2016, Key sent a detailed deficiency letter to Holland requesting that she

cure the deficiencies by the close of business on October 6, 2016. A copy of Key’s October 4,

2016, letter is attached as Exhibit 2. Instead of curing the deficiencies, on October 7, 2016,

Holland insisted that Holland’s responses were “in compliance with the Order and [we] stand by

our objections.” A copy of Holland’s October 7, 2016, email is attached as Exhibit 3. Holland

takes the position that she has fulfilled her obligations to provide discovery simply by making

her computer devices available for forensic inspection.

       To the contrary, Holland is hamstringing Key’s efforts to adequately prepare for the

submission of its Motion for Preliminary Injunction to the Court on November 11, 2016. Key is

seeking depositions of Holland and Defendant, Martin Mbeteni, during the last week of October.

Key, however, has no documents from Holland, as well as evasive responses to Requests for

Admissions. Key has done all that it can to resolve the discovery issue and court action is now

necessary to compel Holland’s cooperation.

III.   LAW AND ARGUMENT

       Discovery under the Federal Rules of Civil Procedure is traditionally broad. Rule

26(b)(1) provides that “[p]arties may obtain discovery regarding any nonprivileged matter that is

relevant to any party’s claim or defense and proportional to the needs of the case. . . .” “[T]he

discovery rules ‘are to be accorded a broad and liberal treatment,’” so that litigants may be

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adequately informed. Heller v. City of Dallas, 303 F.R.D. 466, 489 (N.D. Texas 2014), quoting

Hickman v. Taylor, 329 U.S. 495, 507–508, 67 S.Ct. 385, 91 L.Ed. 451 (1947). See SSL Services,

LLC v. Citrix Systems, Inc., 2010 WL 547478, *1 (E.D. Texas Feb. 10, 2010), citing Herbert v.

Lando, 441 U.S. 153, 176, 99 S.Ct. 1635, 60 L.Ed.2d 115 (1979).

       A party may move to compel discovery provided that he “has in good faith conferred or

attempted to confer with the person or party failing to make disclosure or discovery in an effort

to obtain it without court action.” Fed. R. Civ. P. 37(a)(1).

       Here, Holland failed to respond properly to Key’s discovery. Key tried in good faith to

resolve the deficiencies in Holland’s production. Pursuant to Fed. R. Civ. P. 37, this Court

should compel Holland to provide complete responses to Key’s Requests for Production of

Documents and Requests for Admission.

       A. Key’s Forensic Examination of Holland’s Devices Does Not Exempt Her From
          Responding to Key’s Requests for Production of Documents.

       Holland produced no documents in response to Key’s request for documents, even

though she references “Holland’s Document Production.” Holland objected to nearly every

document request on the grounds that the documents are already in Key’s possession or are

“equally accessible” to Key on account of the forensic inspection being performed in this case.

See Request for Documents Nos. 1, 2, 3, 4, 5, 6, 7, 9, 10, 12, 13, 14, 15, 16, and 17. Holland’s

objection is wrong.

       A party is entitled to seek discovery of documents from a party regardless of whether the

documents may be retrieved from another source. See Areizaga v. ADW Corp., 314 F.R.D. 428,

437 (N.D. Texas 2016). Further, merely because a forensic inspection of computer equipment is

conducted, a party is not allowed to ignore document requests. See Wynmoor Community

Council, Inc. v. QBE Insurance Corporation, 280 F.R.D. 681 (S.D. Fla. Mar. 5, 2012); Carolina


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Materials LLC v. Continental Cas. Co., 2009 WL 4611519 (W.D. North Carolina 2009); Dawe

v. Corrections USA, 263 F.R.D. 613, 620 (E.D. California 2009); Orrell v. Motorcarparts of

America, Inc., 2007 WL 4287750 (W.D. North Carolina Dec 5, 2007).

        Key’s document requests are not controversial in the least. Key seeks documents

pertaining to: (1) Key information taken by Holland; (2) Holland’s employment with Capital

One; (3) Holland’s contact with Key employees after leaving Key’s employment; (4) Capital

One’s forensic search for Key’s information; and (5) Holland’s contacts with Key’s customers

while employed by Capital One.

        Holland insists that she has done all she is required to do by making her iPad and iPhone1

available for inspection. Holland ignores that the primary purpose of the forensic inspection is

for Key to locate its own documents – documents that Key already knows and has attributes for,

as extensively detailed in the search protocol submitted to the Court (see Doc. No. 70-6) in

response to the Motion for Protective order filed by Ebonie Mbeteni (Doc. No. 67). Furthermore,

what Holland fails to acknowledge is that pawning her obligations off on the forensic inspection

completely shifts the burden to Key to determine what responsive documents exist, what they are

called, where they may be located, and what search terms will retrieve them. Key will not know

whether Holland has documents that are not maintained in electronic format which are not

revealed by the forensic inspection. Key will not know whether Holland has any documents

which were not revealed through the forensic inspection because they are in an unsearchable

format. Holland’s assertion of the “easily accessible” objection to nearly every document request

is utterly intolerable and hides the ball from Key. The Court should order Holland to completely




1
 According to Holland, however, she dropped her iPhone into a pool of water the day before the forensic inspection,
which has hampered Key’s efforts to inspect that device.

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respond to Key’s Requests for Production of Documents by producing responsive documents

within seven days of this Motion.

       B.      Holland’s Boilerplate Objections Do Not Comply with the Federal Rules.

       Holland repeatedly objected in a boilerplate fashion to Key’s Requests for Production as

vague, ambiguous, overbroad, misleading, inaccurate, based upon facts not in evidence, based

upon incorrect assumption, irrelevant and not reasonably calculated to lead to the discovery of

admissible evidence. See Request for Documents Nos. 1, 2, 6, 7, 9, 10, 11, 12, 13, 14, 15, 16 and

17. Boilerplate objections on their own do not comply with Fed. R. Civ. P. 34(b)(2)(C) as it was

amended in 2015: “[a]n objection must state whether any responsive materials are being

withheld on the basis of that objection. An objection to part of a request must specify the part

and permit inspection of the rest.”

       Key is entitled to know whether Holland is withholding any documents based on the

boilerplate objections. The Court should require Holland to do so.

       C.      Holland’s Objections Based on Confidentiality and Privilege are Lacking.

       Holland appears to conceal production of certain documents based on confidentiality or

privilege, although the written responses fail to provide enough information for Key to know. In

the Responses, Holland objected that some responsive documents are confidential or proprietary

(Nos. 14, 15, 16, and 17) and some are privileged (Nos. 13, 14, 15, 16, and 17). Among other

problems with these two objections, there are two problems that loom the largest. First,

confidentiality is not a valid reason for withholding production of documents where a protective

order issued by the Court protects confidential information. Slide Fire Solutions, LP v. Bump

Fire Systems, LLC, 2016 WL 3352006, *4-*5 (N.D. Texas 2016). Second, assertion of privilege

as a reason for withholding production of documents requires support with a privilege log. Fed.

R. Civ. P. 26(b)(5).

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       Because the Court issued a Stipulated Protective Order in this case – and held a lengthy

hearing on its benefits and protections – the Court should overrule Holland’s confidentiality

objection and compel production of responsive documents. Because Holland failed to produce a

privilege log, the Court should compel her to do so or clarify that no documents are being

withheld on the basis of privilege.

       D.         The Documents Sought in Key’s Document Request No. 8 are Relevant and
                  Discoverable.

       In Request for Documents No. 8, Key sought: “All documents relating to any review or

analysis performed to attempt to locate all Key Information and Mbeteni transferred into Capital

One’s computer network.” Holland responded: “Holland did not perform any such review or

analysis.” Holland evaded the question. Regardless of whether she actually performed the review

herself, she could have responsive documents in her possession. The Court should order Holland

to produce responsive documents or clarify that she has none.

       E.         Holland Failed to Comply with Rule 36 in her Responses to Key’s Requests
                  for Admissions.

       For a handful of Key’s Requests for Admissions, Holland simply avoided providing any

substantive response, because she does not want to. She claims she can neither admit nor deny

certain requests and that others require her to speculate. She completely fails to explain any basis

for these objections and responses, and the context reveals there is no reason she cannot provide

real responses.

       Rule 36 requires, “[i]f a matter is not admitted, the answer must specifically deny it or

state in detail why the answering party cannot truthfully admit or deny it.” (emphasis added).

See Henson v. General Motors LLC, 2014 WL 11515721, *1 (N.D. Texas Dec. 22, 2104),

quoting S.E.C. v. Brady, 238 F.R.D. 429, 437 (N.D. Tex. 2006) (“Broad-based, non-specific



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objections are almost impossible to assess on their merits, and fall woefully short of the burden

that must be borne by a party making an objection ....”).

       Holland evaded giving any real response to Requests for Admissions Nos. 7, 11, 12, 13,

and 17. Collectively, they seek these admissions:

       No. 7: that to Your knowledge Key spends time, money, and resources
       developing information and documents that it uses in its health care commercial
       real estate business line.

       No. 11: that to Your knowledge Capital One engages or plans to engage in the
       health care commercial real estate finance business.

       No. 12: that to Your knowledge Key never consented to Capital One using any
       Key Information taken from Key by either You or Mbeteni.

       No. 13: that when he joined Capital One You were aware that Mbeteni had
       agreements with Key regarding the confidentiality of Key information.

       No. 17: that Capital One employees received a Key Sizer from You or Mbeteni in
       connection with the Capital One employees’ work at Capital One.

None of these requests is particularly difficult or requires Holland to speculate or guess as to

what is in the mind of another individual. They simply request admissions as to things within

Holland’s own knowledge. The requests do not require anything beyond the contents of

Holland’s own mind, so her objections are improper. The Court should order Holland to provide

substantive responses to these Requests.

       F.      Key is Entitled to Reasonable Expenses, Including Attorney’s Fees, For This
               Motion.

       Fed. R. Civ. P. 37(a)(5)(A) provides that, upon granting a motion to compel, “the court

must, after giving an opportunity to be heard, require the party or deponent whose conduct

necessitated the motion, the party or attorney advising that conduct, or both to pay the movant’s

reasonable expenses incurred in making the motion, including attorney’s fees.” See Brown v.

Bridges, 2014 WL 534938, *2 (N.D. Texas Feb. 11, 2014) (“[U]nder Rule 37(a), because

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Defendant prevailed on his Motion to Compel in its entirety, Defendant is entitled to

reimbursement of the attorneys’ fees and expenses incurred in preparing and filing the Motion to

Compel and related filings.”).

       In this case, Key should receive all expenses, including attorneys’ fees and costs, it

incurred in connection with this Motion and Key’s efforts prior to bringing this Motion. There is

no justification for Holland’s failure to provide any documents in response to Key’s Requests for

Documents nor for her unsupported responses to Key’s Requests for Admissions. Accordingly,

pursuant to Rule 37, Key is entitled to all expenses, including attorneys’ fees and costs, incurred

in connection with this Motion.

IV.    CONCLUSION

       Holland is now doing the same as Mbeteni – she is delaying and deflecting Key’s

discovery attempts in the hopes that she can staunch the bleeding before the Court rules on the

Motion for Preliminary Injunction. The Court can see, however, that the bright light of this

federal lawsuit continues to bring bad acts to light. There is no reason to stop now. Key needs to

be fully equipped for depositions before the Motion for Preliminary Injunction is submitted.

Proper responses to written discovery requests are necessary. The Court should order Holland to

provide complete discovery responses.




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Dated: October 13, 2016          Respectfully submitted,


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                             CERTIFICATE OF CONFERENCE

       On October 4, 2016, Key sent a letter to Holland outlining the deficiencies in her

discovery responses. On October 7, 2016, Holland replied to the letter and took the position that

she had no obligation to amend her discovery responses or provide any additional discovery. On

October 13, 2016, Key transmitted a Proposed Order to Holland asking whether she could agree

to any of the terms in the Order. Counsel for Key and Holland discussed the matter

telephonically. Holland requested that Key not file the Motion, but otherwise Holland offered no

specific commitment to provide specific discovery.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of October, 2016, I caused a copy of the foregoing

Motion to Compel to be served via the Court’s CM/ECF System on all counsel of record.


                                                   /s/ Chad D. Cooper
                                                   Chad D. Cooper (OH – 0074322)
                                                   One of the Attorneys for Plaintiff KeyCorp




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